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                    IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION

 Darryl F. Mills,                         ) Civil Action No.: 3:15-5018-MGL
                                          )
                               Plaintiff, )
                                          )
                    vs.                   )                    ORDER
                                          )
                                          )
 CarMax, Inc., and CarMax Auto            )
 Superstores, Inc.,                       )
                                          )
                            Defendants. )
     ______________________________

       On December 21, 2015, Plaintiff Darryl F. Mills, (“Plaintiff”), filed this employment

discrimination action pursuant to the Americans with Disabilities Act (“ADA”), 42 U.S.C. §§ 12101,

et seq. and the Age Discrimination in Employment Act (“ADEA”), 29 U.S.C. §§ 621, et seq. In

accordance with 28 U.S.C. § 636(b)(1) and Local Civil Rule 73.02 D.S.C., this matter was referred

to United States Magistrate Judge Paige J. Gossett for all pretrial handling. On April 26, 2016,

following briefing by the parties, the Magistrate Judge prepared and submitted a Report and

Recommendation, (The Report), (ECF No. 20), recommending that Defendants’ Motion to Dismiss

and to Compel Arbitration, (ECF No. 10), be granted. Plaintiff filed a timely Objection to the

Report, (ECF No. 22), to which Defendants replied, (ECF No. 23). The matter is now ripe for

review by this Court.

       The Magistrate Judge makes only a recommendation to this Court. The recommendation has

no presumptive weight, and the responsibility to make a final determination remains with the Court.

See Mathews v. Weber, 423 U.S. 261 (1976). The Court is charged with making a de novo

determination of any portion of the Report of the Magistrate Judge to which a specific objection is
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made. The Court may accept, reject, or modify, in whole or in part, the recommendation made by

the Magistrate Judge or recommit the matter to the Magistrate Judge with instructions. See 28

U.S.C. § 636(b). In the absence of a timely filed Objection, a district court need not conduct a de

novo review, but instead must “only satisfy itself that there is no clear error on the face of the record

in order to accept the recommendation.” Diamond v. Colonial Life & Acc. Ins. Co., 416 F.3d 310,

315 (4th Cir. 2005).

        In light of the standards set forth above, the Court has reviewed, de novo, the Report and, in

particular, the Plaintiff’s Objection. The Court concludes that none of Plaintiff’s contentions

meaningfully counter the core legal conclusions of the Report, including the Magistrate Judge’s

findings that: (1) Plaintiff’s employment as a CarMax associate sufficiently impacted interstate

commerce to trigger application of the Federal Arbitration Act (“FAA”); (2) that the signed

agreement to arbitrate entered into by the parties was not unconscionable; and (3) that certain oral

representations allegedly made to Plaintiff by representatives of the Defendants at the time that

Plaintiff signed the agreement to arbitrate are properly excluded from consideration by operation of

South Carolina’s parole evidence rule. Although Plaintiff maintains in his Objections that a “fraud

exception” to the parole evidence rule should permit consideration of the alleged oral representations

in this case, see ECF No. 22 at pp. 2-3, as Defendants point out in their reply brief, the particular

doctrine upon which Plaintiff seeks to rely is a very limited exception that can permit introduction

of parole evidence to support a fraud-based cause of action. See ECF No. 23 at pp. 2-3. It does not

appear to have ever been applied in South Carolina to a situation where a party is merely attempting

to invalidate or alter the terms of a contemporaneous written contract.

        Based upon all of the foregoing, the Court adopts in substantial part the Magistrate Judge’s


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Report and incorporates those significant portions of the Report consistent with this Order herein by

reference, (ECF No. 20), overruling Plaintiff’s Objection. (ECF No. 22). The Court departs from

the Report only in that, rather than dismissing the action on this motion, the Court will instead

exercise its authority to stay the litigation pending arbitration. Accordingly, Defendants’ Motion to

Dismiss and to Compel Arbitration, (ECF No. 10), is GRANTED IN PART and this action is

hereby STAYED pending arbitration.

       IT IS SO ORDERED.

                                              s/Mary G. Lewis
                                              United States District Judge

Columbia, South Carolina
June 6, 2016




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